                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:

      CLEMENTS MANUFACTURING LIQUIDATION                  Case No. 09-65895-TJT
      COM PANY , LLC                                      Judge Thomas J. Tucker
      FKA KENSA , LLC FKA CLEMENTS                        Chapter 7
      MANUFACTURING OF MICHIGAN , LLC
      DBA CLEMENTS MANUFACTURING , LLC


             Debtor.
      ____________________________/

CHARLES L. WELLS, III,
CHAPTER 7 TRUSTEE,
                                                           Adv. No. 10–6123
         Plaintiff,

v.                                                         consolidated with

THB AMERICA, LLC,
TIANHAI ELECTRIC NORTH AMERICA, and
SAKOMA, LLC,

         Defendants.
                                          /

HAROLD ZAIMA, an individual, ZAIMA
FAMILY LLC, a Michigan limited liability
company, SAKOMA, LLC, a Michigan
limited liability company, and KENSA
de HONDURAS S. de R.L., a Honduran
company,
                                                           Adv. No. 10–7341
         Plaintiffs/Counter-Defendants,
v.

CHINA AUTO ELECTRONICS GROUP LTD.,
a Bermudan corporation; HENAN TIANHAI
ELECTRIC CO., LTD., a Chinese corporation;
HEBI TIANHAI HUANQJU ELECTRIC COMPANY,
LTD., a Chinese corporation,

         Defendants,
and

TIANHAI ELECTRIC NORTH AMERICA, INC.,
A Michigan corporation; THB AMERICA, LLC,



     10-06123-tjt     Doc 205    Filed 10/17/14   Entered 10/17/14 16:45:27        Page 1 of 46
A Michigan limited liability company,
       Defendants/ Counter-Plaintiffs and
       Third Party Plaintiffs,

v.

CLEMENTS MANUFACTURING
LIQUIDATION CO., LLC, f/k/a
KENSA, LLC, a Michigan limited
Liability company, and CHARLES L.
WELLS, III, CHAPTER 7 TRUSTEE,

         Third Party Defendants.
                                         /

                OPINION REGARDING SUMMARY JUDGMENT MOTIONS

I. Introduction

         These consolidated adversary proceedings are before the Court on three motions for

summary judgment, namely,

         (1) the Chapter 7 Trustee’s motion for summary judgment entitled “Trustee’s Motion for

Summary Judgment as to Counts II and III of the Trustee’s Complaint in Adversary No. 10-

06123 and Counts II, III, and IX in Trustee’s Cross Claim in Adversary No. 10-07341” (Docket

# 104 in Adv. No. 10-6123);

         (2) the Chapter 7 Trustee’s motion for summary judgment entitled “Trustee’s Motion for

Summary Judgment as to Count I in Adversary No. 10-06123 Against Defendants THB America,

LLC and Tianhai Electric North America, Inc.” (Docket # 107 in Adv. No. 10-6123); and

         (3) the motion for summary judgment filed by THB America, LLC (“THB”) and Tianhai

Electric North America, Inc. (“TENA”), entitled “THB America, LLC and Tianhai Electric North

America, Inc.’s Motion for Summary Judgment as to Claims Asserted by Trustee” (Docket # 110

in Adv. No. 10-6123).


                                                    2



     10-06123-tjt   Doc 205        Filed 10/17/14   Entered 10/17/14 16:45:27    Page 2 of 46
       The Court held lengthy hearings on these motions, then took them under advisement. For

the reasons stated in this opinion, the Court will deny each of the motions.

II. Background

       The following background facts are rather complicated, but they are undisputed.

       A. The Kensa Business Entity

       Prior to January 1, 2008, the Chapter 7 Debtor in this case, Clements Manufacturing

Liquidation Company, LLC, was known as Kensa LLC (“Old Kensa” or “Kensa”). It was one of

five related companies operating out of Michigan, Mexico, and Honduras, which designed,

manufactured, distributed, and sold wiring harnesses and battery cable assemblies for automotive

companies and their tier one suppliers. All of the entities were controlled, either directly or

indirectly, by Harold Zaima (“Zaima”), a Japanese-American citizen of the United States, who

was the President of Old Kensa. Those five Zaima-controlled entities were Old Kensa;

Deckerville Wire, Inc. (“Deckerville”); Sakoma, LLC (“Sakoma”); Kensa de Honduras S. de

R.L. (“Kensa Honduras”); and Kensa de Mexico de S. de C.V. (“Kensa Mexico”)(collectively,

the “Kensa Business Entity” or the “Kensa Enterprise”).1




       1
         Before January 1, 2008, Old Kensa was a wholly-owned subsidiary of Zaima Family, LLC.
Zaima held a 40% membership interest in, and 100% of the voting rights of, Zaima Family, LLC.
Zaima’s three minor children, through Trusts, each held a 20% membership interest in Zaima Family,
LLC.

        Zaima Family, LLC also held 100% of the membership interests in Arizaima LLC (“Arizaima”).
Arizaima is a holding company that never had any operations. Lulani, Inc., a Chapter S corporation
(“Lulani”), was the manager of Zaima Family LLC. Kensa Honduras was owned 50% by Arizaima and
50% by Zaima Family, LLC. Kensa Mexico was owned .003% by Arizaima and 99.007 % by Old
Kensa. Old Kensa owned 100% of the membership interests in Deckerville. Zaima owned 100% of the
membership interests in Sakoma.

                                                  3



  10-06123-tjt     Doc 205     Filed 10/17/14      Entered 10/17/14 16:45:27         Page 3 of 46
       Old Kensa designed, distributed, and sold the wiring harnesses and cable assemblies.

Sakoma was a distributer of the electrical components of the wiring harnesses. Kensa Mexico

and Kensa Honduras manufactured the wiring harnesses and battery cable assemblies.

Deckerville was the employer of all the employees located in Deckerville, Michigan, and Sterling

Heights, Michigan, who worked for Old Kensa. Because Zaima was Japanese-American, Kensa

was a minority-owned business.

       Old Kensa had term loans and a line of credit from Comerica Bank (“Comerica”), which

were secured by liens on all of the assets of the Kensa Business Entity. Zaima had personally

guaranteed these loans. During 2007, Old Kensa had defaulted numerous times under the terms

of its loan documents with Comerica, had entered into forebearance agreements with Comerica,

had defaulted under the terms of various forebearance agreements, and was having difficulty

securing further loans needed for operating expenses.2 As a result, during 2007, the Kensa

Business Entity was in financial distress and in need of a capital infusion.

       B. China Auto Electronics Group, Ltd.’s negotiations with Zaima

       In May or June of 2007, China Auto Electronics Group, Ltd. (“CAE ”), a foreign

corporation which desired to expand its business into the United States automotive market, and

its wholly owned United States subsidiary, CAE US Holdings, Inc. (“CAE US”), asked Zaima

about the possibility of CAE, either directly or indirectly, purchasing some or all of the assets of,

and membership interests in, the Kensa Business Entity. As a result of this inquiry, CAE and

Zaima entered into negotiations, which led to the execution of a transaction term sheet in January



       2
        See Ex. 5 of Docket # 110 in Adv. No. 10-6123 (Letter to Zaima dated February 12, 2008 from
Comerica).

                                                  4



  10-06123-tjt     Doc 205     Filed 10/17/14      Entered 10/17/14 16:45:27        Page 4 of 46
2008, followed by a closing of a complex set of related transactions in late February 2008. Some

more specific details are set forth later in this opinion, but the following description of the related

transactions, quoted from a brief filed by THB and TENA, is a good summary:

           By January 2008, the parties had agreed in principle on a complicated
           transaction consisting of a number of steps and simultaneous, multilateral
           agreements, which can be summarized as follows:

               1.      Step 1 – Form THB and THB de Honduras as new companies.

               2.      Step 2 – THB to purchase some of the assets of Kensa and
                       Deckerville Wire; THB de Honduras to purchase some of the
                       assets of Kensa de Mexico and Kensa de Honduras. All
                       outstanding debt to Comerica Bank, including term loans and
                       line of credit, to be retired as part of closing.

               3.      Step 3 – CAE US to acquire an 80% membership interest in
                       THB and 80% ownership interest in THB de Honduras; Zaima
                       to purchase the 20% membership interest in THB and 20%
                       ownership interest in THB de Honduras.

                During the negotiation process, however, it occurred to the parties that
           because THB was to be majority owned by CAE US, it would not be
           considered a minority owned business as Kensa had been and that this might
           hurt THB’s ability to win business from some potential customers. In order
           to address this problem, the parties added some additional steps and
           agreements to the contemplated transaction, which can be summarize[d] as
           follows.

               4.      Step 4 – Have one of Zaima’s existing but non-operating
                       entities, Sakoma LLC (“Sakoma”), purchase Kensa’s accounts
                       receivable and assume liabilities related to certain existing
                       purchase orders.

               5.      Step 5 – CAE to become 45% owner of Sakoma; Zaima to
                       retain 55% stake in Sakoma.

               6.      Step 6 – Execute Supply Agreement between Sakoma and THB
                       under which Sakoma could sell THB products, and only THB
                       products, to purchasers wishing to do business with a minority
                       owned company for a 2% commission.


                                                  5



  10-06123-tjt      Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27          Page 5 of 46
             The sum and substance of the transaction, however, remained the same;
             namely, at the end of the day CAE US would have the foothold in the U.S.
             automotive industry it desired in the form of 80% ownership of this newly
             formed “THB Enterprise,” and the THB Enterprise would be free and clear
             of all outstanding debt to Comerica.

                  The parties closed their transaction on or about February 29, 2008 by
             simultaneously entering into the various Asset Purchase Agreements, Unit
             (Equity) Purchase Agreements and Supply Agreement, all necessary to
             consummate the steps outlined above. However, in an attempt to make a
             clean cutoff on the books and records of both the buyers and the sellers, the
             “effective date” of all of the APAs and UPAs was agreed to be January 1,
             2008.

                  In return for its 80% stake in the THB Enterprise, CAE US provided
             the Kensa Enterprise cash in the amount of $9,797,881– largely used to
             retire the Kensa Enterprise’s debts to Comerica which by the time of the
             closing, including the increased line of credit, totaled $9,268,330. . . .

                  In addition to cash, CAE US provided the following consideration: (1)
             a $1,840,000 promissory note to either THB de Honduras or Kensa de
             Honduras to be paid upon certain conditions; (2) a holdback/earnout of
             $2,909,351 to be paid upon certain conditions; and [(3)] the assumption of
             certain specified Kensa Enterprise liabilities explicitly set forth in the Asset
             Purchase Agreements.3

        1. The Transaction Term Sheet

        In January 2008, CAE, Old Kensa, Kensa Honduras, Sakoma, and Zaima entered into an

agreement, entitled “China Auto Electronics Group Limited - KenSa Transaction Term Sheet”

(the “Transaction Term Sheet”), which expressed their “commitments . . . with respect to a

transaction in which certain assets of [Old Kensa, Kensa Honduras, and Sakoma, would] be sold

to certain new entities, which entities [would] be owned, directly or indirectly, by CAE, or its




        3
            THB and TENA Br. (Docket # 110 in Adv. No. 10-6123), at 4-6 (footnote and record citations
omitted).

                                                    6



  10-06123-tjt       Doc 205     Filed 10/17/14      Entered 10/17/14 16:45:27          Page 6 of 46
affiliates, and Zaima, or his successors and assignees.”4 Under the Transaction Term Sheet, new

entities were to be formed — THB America, LLC (“THB America”) and THB Honduras.5 The

Transaction Term Sheet provided, in relevant part:

            2. Preparation of Definitive Agreements - The terms of the transactions
            contemplated herein will be more particularly set forth in definitive
            agreements (collectively “Definitive Agreements”) that will govern the
            transactions. The Definitive Agreements shall be effective as of January 1,
            2008. The parties will continue to negotiate the terms and begin preparation
            of the Definitive Agreements. The Definitive Agreements are expected to
            include, without limitation:

                  (1) Asset Purchase Agreement between [Old Kensa] and
                  [Sakoma]: Agreement for the purchase of any assets from [Old
                  Kensa] necessary to operate [Sakoma];

                  (2) Asset Purchase Agreement between [Old Kensa] and THB
                  America: Agreement for the purchase of any assets from [Old
                  Kensa] necessary to operate THB America and certain known
                  liabilities;

                  (3) Asset Purchase Agreement between [Kensa Honduras] and
                  THB Honduras: Agreement for the purchase of any assets from
                  [Kensa Honduras] necessary to operate the Honduras plant;

                  (4) Unit Purchase Agreement between Zaima (the sole shareholder
                  of [Sakoma] and [CAE US]: CAE US will purchase 49% of the
                  membership interests of [Sakoma];

                  (5) Unit Purchase Agreement between Zaima (sole shareholder of
                  [THB America] and [CAE US]: CAE US will purchase 80% of the
                  membership interests of THB America and the small percentage of
                  THB Honduras;

                  (6) Operating Agreement of THB America: Agreement will provide
                  for customary terms, including tag-along and drag-along rights and



       4
           Ex. 9 of Docket # 110 in Adv. No. 10-6123.
       5
           Id. at 1 ¶ 1.(a), 2 ¶ 1.(c).

                                                      7



  10-06123-tjt        Doc 205        Filed 10/17/14   Entered 10/17/14 16:45:27   Page 7 of 46
                  member and member buyout at a price set by fair valuation
                  (method to be determined).

                  (7) Operating Agreement of [Sakoma]: Agreement will provide
                  for customary terms, including tag-along and drag-along rights;

                  (8) Supply Agreement between THB America and Sakoma: Two
                  year term with automatic renewals for the supply of parts from
                  THB America to [Sakoma]. The agreement will have a 2 yrs non-
                  compete after its expiration;

                  (9) Master Purchase Order: Agreement for the supply by CAE, or
                  its affiliate, of certain tooling, engineering, and related support to
                  THB America.

                  (10) Employment Agreement: Zaima will be employed by THB
                  America on terms to be agreed by the parties.6

       2. The agreements comprising the sale, to CAE US, of the assets and membership
          interests of the Kensa Business Entity

       As contemplated by the Transaction Term Sheet, on February 5, 2008, Zaima Family

LLC formed THB America and THB Honduras. Then, on February 29, 2008, as contemplated by

the Transaction Term Sheet, a complex transaction was done, to accomplish the transfer to CAE

US of the ownership and control of most of the assets that had formerly been owned and

controlled by the Kensa Business Entity, by the execution of multiple complex agreements.

All of these February 29, 2008 agreements provided that they would be effective as of January 1,

2008. The relevant agreements were as follows:

       • An “Asset Purchase Agreement” between Old Kensa and Deckerville, as “Seller,” and
         Sakoma as the “Purchaser” (the “Sakoma APA”). Under the Sakoma APA, Sakoma
         purchased some of the assets of Old Kensa and Deckerville, including Old Kensa’s
         name, assumed certain liabilities of Old Kensa related to certain purchase orders, and




       6
           Id. at 3-4 ¶ 2.

                                                    8



  10-06123-tjt        Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27         Page 8 of 46
          paid $100,000.7 The Sakoma APA stated that “[t]he representations and warranties of
          Sellers contained in Article 3 of [“the Asset Purchase Agreement by and among Seller,
          Deckerville Wire, Inc. and THB America, LLC dated the date hereof] are incorporated
          herein by reference.”8

    • An “Asset Purchase Agreement” between Old Kensa and Deckerville as “Seller,” and
      THB America as the “Purchaser” (the “THB America APA”). Under this agreement,
      THB America purchased some of the assets of Old Kensa, assumed some of the
      liabilities that Old Kensa incurred after January 1, 2008, and paid $100,000.9 THB
      America purchased the books and records of Old Kensa, effective January 1, 2008, and
      did not keep separate books.

    • An “Asset Purchase Agreement” between Old Kensa, Kensa Mexico and Kensa
      Honduras as “Seller,” and THB Honduras as the “Purchaser” (the “THB Honduras
      APA”). Under this agreement, the Seller transferred certain (1) personal property; (2)
      leases; and (3) agreements from the Kensa Mexico and Kensa Honduras operations to
      the Purchaser, for $11,437,881, and assumed certain liabilities. Old Kensa was to
      receive $5,855,000 of the proceeds of this asset sale, Kensa Mexico was to receive
      $235,000, and Kensa Honduras was to receive $5,347,881.10

    • A “Unit Purchase Agreement” in which THB America, and Sakoma, as “Sellers,” sold
      to CAE US, as “Purchaser,” “45% of [Sakoma’s] outstanding voting membership
      interests” for $100,000, and “80% of the outstanding voting membership interests of
      THB America,” for $100,000.11 Zaima Family, LLC was also a party to this Unit
      Purchase Agreement and owned 100% of both Sakoma and THB America at the time
      of this agreement.12 This Unit Purchase Agreement stated that “[t]he Sellers have no
      assets or Liabilities other than those transferred to each company by the Asset
      Purchase Agreements.”13 This Unit Purchase Agreement defined “‘Asset Purchase




    7
        Ex. 10b of Docket # 110 in Adv. No. 10-6123 at ¶¶ 2.01, 2.02, 2.04.
    8
         Id. at ¶¶ 1.01 (defining “THBA APA”), 3.01.
    9
         Ex. 10 of Docket # 110 in Adv. No. 10-6123 at ¶¶ 2.01, 2.02, 2.04.
    10
         Ex. 10a of Docket # 110 in Adv. No. 10-6123 at ¶¶ 2.01, 2.02, 2.04.
    11
         Ex. 10c of Docket # 110 in Adv. No. 10-6123 at ¶¶ 2.01(i) and (ii), 2.02, 2.03.
    12
         Id. at ¶ 3.02.
    13
         Id. at ¶ 3.03.

                                                   9



10-06123-tjt      Doc 205      Filed 10/17/14       Entered 10/17/14 16:45:27          Page 9 of 46
             Agreements’ [to mean] each of the [Sakoma] APA and THB [America] APA and any
             other agreements contemplated in such agreements.”14

       • A “Unit Purchase Agreement” in which THB Honduras, as the “Seller,” sold to CAE
         US as “Purchaser” “80% of Seller’s outstanding voting membership interests” for
         $14,347,351.15 Zaima Family, LLC was also a party to this Unit Purchase Agreement
         and owned 100% of THB Honduras at the time of this agreement.16 This Unit Purchase
         Agreement stated that “Seller has no assets or Liabilities other than those transferred to
         THB Honduras pursuant to the [THB Honduras] APA.”17

       • The “Supply Agreement” between THB America, as the “Supplier,” and Sakoma as
         the “Company,” to facilitate distribution of products to companies who wanted to do
         business with a minority-owned company.18

       After all of the agreements were executed on February 29, 2008, the situation was this:

(1) most or all of the assets of the Kensa Business Entity had been transferred to THB America,

THB Honduras, and Sakoma; (2) CAE US owned 80% of the membership interests in the two

newly formed entities, THB America and THB Honduras; (3) Zaima Family, LLC owned 20% of

the membership interests in each of these two new entities; (4) CAE US owned 45% of the equity

interests in Sakoma; and (5) Zaima Family, LLC owned 55% of the membership interests in

Sakoma.




       14
            Id. at ¶ 1.01 (defining “Asset Purchase Agreements”).
       15
            Ex. 10d of Docket # 110 in Adv. No. 10-6123 at ¶¶ 2.01(I), 2.02.
       16
            Id. at 3.02.
       17
            Id. at ¶ 3.03.
       18
          Ex. 10e of Docket # 110 in Adv. No. 10-6123. Sakoma was still considered a minority owned
business because Zaima retained a 55% membership interest in Sakoma, when CAE US acquired 45% of
the membership interests.

                                                    10



 10-06123-tjt        Doc 205     Filed 10/17/14      Entered 10/17/14 16:45:27    Page 10 of 46
III. Summary judgment standards

       As this Court has stated previously, in McCallum v. Pixley (In re Pixley), 456 B.R. 770,

774-75 (Bankr. E.D. Mich. 2011):

               Fed.R.Civ.P. 56(a), applicable to bankruptcy adversary proceedings
          under Fed.R.Bankr.P. 7056, provides that a motion for summary judgment
          “shall” be granted “if the movant shows that there is no genuine dispute as
          to any material fact and the movant is entitled to judgment as a matter of
          law.” In Cox v. Kentucky Dep’t of Transp., 53 F.3d 146, 149-50 (6th Cir.
          1995), the court elaborated:

                      The moving party has the initial burden of proving
                      that no genuine issue of material fact exists and that
                      the moving party is entitled to judgment as a matter
                      of law. To meet this burden, the moving party may
                      rely on any of the evidentiary sources listed in Rule
                      56(c) or may merely rely upon the failure of the
                      nonmoving party to produce any evidence which
                      would create a genuine dispute for the [trier of fact].
                      Essentially, a motion for summary judgment is a
                      means by which to challenge the opposing party to
                      ‘put up or shut up’ on a critical issue.
                      If the moving party satisfies its burden, then the
                      burden of going forward shifts to the nonmoving
                      party to produce evidence that results in a conflict
                      of material fact to be resolved by [the trier of fact].
                      In arriving at a resolution, the court must afford all
                      reasonable inferences, and construe the evidence in
                      the light most favorable to the nonmoving party.
                      However, if the evidence is insufficient to
                      reasonably support a . . . verdict in favor of the
                      nonmoving party, the motion for summary judgment
                      will be granted. Thus, the mere existence of a
                      scintilla of evidence in support of the plaintiff's
                      position will be insufficient; there must be evidence
                      on which the [trier of fact] could reasonably find for
                      the plaintiff.
                      ...
                      Finally, the Sixth Circuit has concluded that, in the
                      “new era” of summary judgments that has evolved
                      from the teachings of the Supreme Court in


                                                11



 10-06123-tjt    Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27       Page 11 of 46
                        Anderson [v. Liberty Lobby, Inc., 477 U.S. 242
                        (1986)], Celotex [Corp. v. Catrett, 477 U.S. 317
                        (1986)] and Matsushita [Electric Indus. Co., Ltd. v.
                        Zenith Radio Corp., 475 U.S. 574 (1986)], trial
                        courts have been afforded considerably more
                        discretion in evaluating the weight of the
                        nonmoving party’s evidence. The nonmoving party
                        must do more than simply show that there is some
                        metaphysical doubt as to the material facts. If the
                        record taken in its entirety could not convince a
                        rational trier of fact to return a verdict in favor of
                        the nonmoving party, the motion should be granted.

                 Id. (internal quotation marks and citations omitted). In
                 determining whether the moving party has met its burden, a court
                 must “believe the evidence of the nonmovant, and draw all
                 justifiable inferences in favor of the nonmovant.” Ingram v. City
                 of Columbus, 185 F.3d 579, 586 (6th Cir.1999)(relying on Russo v.
                 City of Cincinnati, 953 F.2d 1036, 1041-42 (6th Cir.1992)).

IV. The Trustee’s first summary judgment motion (Docket # 104)

       In the first of his summary judgment motions, filed at Docket # 104, the Chapter 7

Trustee seeks summary judgment against Defendant Sakoma, LLC (“Sakoma”), on Counts II and

III of the Trustee’s complaint (Docket # 1) in Adversary No. 10-6123, and on Counts II, III and

IX of the Trustee’s cross-claims (Docket # 5) in Adversary No. 10-7341. The Trustee seeks

summary judgment avoiding, under 11 U.S.C. § 548(a) as a fraudulent transfer, the transfer of

assets made by the Debtor, then known as Kensa, LLC, to Sakoma under the Sakoma APA —

i.e., one of the “Asset Purchase Agreements” dated February 29, 2008.19 And the Trustee seeks

summary judgment for the recovery from Sakoma, under 11 U.S.C. § 550(a)(1), of the difference

between the value of the assets transferred by the Debtor to Sakoma and the value of the benefits




       19
            A copy of the Sakoma APA is Ex. 10b at Docket # 110.

                                                  12



 10-06123-tjt      Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27      Page 12 of 46
received by the Debtor in exchange, which the Trustee says is “at least $1,726,215.60.”20 The

Court must deny this summary judgment motion, however, for the following reasons.

        A. The Trustee’s reliance on the Sanilac County Circuit Court’s March 26,
           2010 opinion

        As part of his argument, the Trustee relies on certain findings in a March 26, 2010

opinion, and related judgment, of the Sanilac County, Michigan Circuit Court in the case of

Deckerville Industrial Investors, LLC v. Kensa, LLC and Sakoma, LLC, Case No. 09-322733-CK

(the “Sanilac County Opinion”). The Trustee argues that the Sanilac County Opinion has a

preclusive effect in these consolidated adversary proceedings, under the doctrine of collateral

estoppel. Specifically, the Trustee relies on the state court’s findings, made after a bench trial,

that “the Sakoma APA was complete on its face,” and that “the Sakoma APA was ‘fraudulent

and a scheme to avoid liability.’”21

        But the Court concludes that the Sanilac County Opinion has no preclusive effect in these

adversary proceedings. The first reason why this is so is that the Chapter 7 Trustee was not a

party in the Sanilac County case, and the Chapter 7 Trustee cannot properly be viewed as being

in privity with any of the parties in that case, or a successor-in-interest, for collateral estoppel

purposes, to any of the parties in that case. Because of this, the necessary element of “mutuality

of estoppel” is missing, as required by Michigan collateral estoppel law, so that this Court may

not give any preclusive effect to the Sanilac County Opinion. See Citizens Ins. Co. of America v.

King (In re King), 500 B.R. 511, 514-17 (Bankr. E.D. Mich. 2013). Because Michigan courts



        20
             Trustee’s Reply Br. (Docket # 143) at 4.
        21
             Mot. (Docket # 104) at 9.

                                                        13



 10-06123-tjt        Doc 205      Filed 10/17/14        Entered 10/17/14 16:45:27     Page 13 of 46
would not give preclusive effect to the Sanilac County Opinion in favor of the Chapter 7 Trustee

in this situation, this Court likewise may not do so. See generally McCallum v. Pixley (In re

Pixley), 456 B.R. 770, 775-76 (Bankr. E.D. Mich. 2011).

       The Trustee has cited no authority in support of his argument that the Trustee can be

viewed as in privity with, or a successor of, the single creditor who was the Plaintiff in the

Sanilac County case (Deckerville Industrial Investors, LLC (“Deckerville Investors”)), and the

Court rejects such an argument. The Court is aware of no authority that supports the argument.

While the Chapter 7 Trustee has a fiduciary duty in the Chapter 7 case to all the creditors of the

Debtor, including Deckerville Investors, nothing in the Bankruptcy Code suggests that the

Trustee is legally deemed to be a successor-in-interest to or in privity with any single creditor, for

collateral estoppel purposes.

       Another flaw in the Trustee’s successor/privity argument arises from the fact that the

Sanilac County Opinion, filed March 26, 2010, and the March 9, 2010 non-jury trial on which

that opinion was based, both occurred many months after the filing of Debtor’s Chapter 7

bankruptcy case and the appointment of the Chapter 7 Trustee, which occurred on August 20,

2009. Thus, although the Chapter 7 Trustee had been appointed Trustee and had been acting as

such for some seven months, the Trustee was not a party in the Sanilac County case when it was

tried and decided in March 2010. Under these circumstances, and given this timing, the Trustee

cannot be viewed as a successor to the single creditor who prosecuted the Sanilac County case,

Deckerville Investors, with respect to the Sanilac County Opinion.

       Moreover, the actions of the Sanilac County Circuit Court in conducting the trial on

March 9, 2010, and in issuing its opinion on March 26, 2010, both were violations of the


                                                 14



 10-06123-tjt     Doc 205       Filed 10/17/14    Entered 10/17/14 16:45:27         Page 14 of 46
automatic stay under 11 U.S.C. § 362(a), and the Sanilac County Opinion appears to be voidable

as a result. See generally Easley v. Pettibone Mich. Corp., 990 F.2d 905, 911 (6th Cir. 1993)

(“In summary, we hold that actions taken in violation of the stay are invalid and voidable and

shall be voided absent limited equitable circumstances.”).

       In the hearing on the summary judgment motions, the Trustee’s counsel described the

Sanilac County case as being an action by Deckerville Investors, as a judgment creditor of the

Debtor, to collect on a garnishment. Deckerville Investors had obtained a judgment against the

Debtor and garnished an account receivable owing from Chrysler. According to the Trustee’s

counsel, in the Sanilac County case, Sakoma argued that the receivable owing from Chrysler

belonged to Sakoma, rather than the Debtor. From the Trustee’s description, it is clear that the

Sanilac County action was the continuation of an action by Deckerville Investors against the

Debtor to recover a pre-petition claim against the Debtor, within the meaning of 11 U.S.C.

§ 362(a)(1), and therefore was prohibited by the automatic stay.

       Nor has Deckerville Investors or the Trustee, or anyone else, argued that the trial and

opinion that occurred in the Sanilac County case should not be deemed void, based on the

recognized equitable exceptions to the rule in Easley v. Pettibone. No one has argued that

Deckerville Investors did not receive proper and timely notice of the filing of the Debtor’s

Chapter 7 bankruptcy case. Rather, the record is clear, and it is undisputed, that Deckerville

Investors did receive such notice, long before March 2010. For example, on August 23, 2009,

the Bankruptcy Noticing Center mailed to Deckerville Investors, along with numerous other




                                                15



 10-06123-tjt    Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27        Page 15 of 46
creditors of the Debtor, a copy of the notice of the commencement of the bankruptcy case. (See

Docket # 5 in Case No. 09-65895).22

        For these reasons, to the extent the Trustee’s motion is based on the alleged preclusive

effect of any of the findings or conclusions in the Sanilac County Opinion, the motion must be

denied. Nor do the findings and conclusions of the state court judge in the Sanilac County

Opinion otherwise have any probative value in the consolidated adversary proceedings. Absent

any preclusive effect under the doctrine of collateral estoppel, such state court findings and

conclusions are simply the opinions of a state court judge in another case, and have no relevance

here.

        B. The Trustee’s other summary judgment arguments

        The Trustee seeks summary judgment against Sakoma even without the benefit of the

Sanilac County Opinion. But the motion must be denied. The Trustee’s motion against Sakoma

depends upon the Court comparing what the Debtor gave versus what the Debtor received under

the Sakoma APA, in isolation. That is, the Trustee’s argument is that the value of the accounts

receivable and other assets transferred by the Debtor to Sakoma, under the Sakoma APA,

exceeds the value of what the Debtor received in exchange, under the Sakoma APA. The Trustee

argues this in support of his “constructive” fraudulent transfer theory under 11 U.S.C.

§ 548(a)(1)(B), as well as his “actual intent” fraudulent transfer theory under § 548(a)(1)(A)(that

the Debtor made the transfers “with actual intent to hinder, delay or defraud” a creditor).



        22
          Deckerville Investors was scheduled as a creditor, based on a 2008 default judgment in the
amount of $130,628.50, in the Debtor’s Schedule F, filed August 20, 2009 (Docket # 1 in Case No. 09-
65895), and in Debtor’s amended Schedule F, filed October 19, 2009 (Docket # 15 in Case No. 09-
65895).

                                                  16



 10-06123-tjt     Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27         Page 16 of 46
       But the Court cannot view the transfers to and from the Debtor under the Sakoma APA in

isolation. It is clear beyond any genuine dispute that the Sakoma APA and the transfers made

under that agreement were only part of a larger, integrated transaction involving several asset

purchase agreements and other agreements, numerous related entities, and numerous transfers of

value back and forth. The larger transaction was the means by which the ownership and control

of the assets and business of the Kensa-related entities, which were owned and controlled

(directly or indirectly) by Harold Zaima, were sold and transferred to, directly or indirectly, CAE.

The larger transaction was shaped and structured beginning with the “Transaction Term Sheet”

executed by the parties in January 2008,23 and culminating in the execution of the numerous

agreements all at the same time, on February 29, 2008. The larger transaction includes three

different asset purchase agreements, including the Sakoma APA, plus a supply agreement and

three unit purchase agreements.24 The agreements were all executed and closed

contemporaneously, and the undisputed evidence in the record, in the form of the uncontradicted

testimony of Harold Zaima, is that none of the agreements would have been executed unless all

of them were.25

       Under the circumstances, in order to determine whether the Debtor received reasonably

equivalent value for the assets that it transferred in this larger transaction, the Court must

consider the value of everything that the Debtor transferred, and the value of every benefit, direct


       23
            Ex. 9 at Docket # 110.
       24
           Copies of the agreements are in the record as exhibits to the motion for summary judgment
filed by THB and TENA (Docket # 110, Exs. 10 and 10a through 10e).
       25
          See Tr. of March 11, 2010 Rule 2004 examination of Harold Zaima (Docket # 110, Ex. 11) at
120-23, 74-75, 80, 84, 95, 135.

                                                  17



 10-06123-tjt      Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27         Page 17 of 46
and indirect, that the Debtor received in exchange, not just directly from Sakoma, but from any

source, as part of the larger transaction. See generally Franklin Advisors, LLC v. Sherwood

Mgmt. Corp. (In re Whyco Finishing Tech., LLC), 500 B.R. 517, 531-33 (Bankr. E.D. Mich.

2013)(discussing the concepts of direct and indirect benefits). Viewed in this light, the Debtor

received, in exchange for assets it transferred, not only the consideration transferred to the Debtor

under the Sakoma APA, — namely $100,000.00 and the assumption of certain specified

liabilities by Sakoma26 — but also other benefits of value. Such benefits included the payment in

full of the Debtor’s debt to Comerica, which totaled roughly $9.2 million at the time of the

closing of the Kensa Business Entity transaction.

       When the Debtor’s transfers made to Sakoma under the Sakoma APA are viewed in light

of the larger Kensa Business Entity transaction, as they must be, it is clear that the Trustee has

not demonstrated an entitlement to summary judgment on either of his fraudulent transfer

theories against Sakoma (constructive fraudulent transfer; actual intent fraudulent transfer).

Indeed, the Trustee has not even tried to demonstrate an entitlement to summary judgment under

this larger view of the transaction.

       The Court agrees with the many cases holding that in a situation like this, the Court must

view the fraudulent transfer claim in light of the entire larger transaction. See, e.g., Official

Comm. of Unsecured Creditors of Nat’l Forge Co. v. Clark (In re Nat’l Forge Co.), 344 B.R.

340, 347-48 (W.D. Pa. 2006); Official Comm. of Unsecured Creditors of Grand Eagle Cos., Inc.

v. Asea Brown Boveri, Inc., 313 B.R. 219, 229 (N.D. Ohio 2004); Mills v. Everest Reinsurance

Co., 410 F. Supp. 2d 243, 254-55 (S.D.N.Y. 2006); Creditors’ Comm. of Jumer’s Castle Lodge,


       26
            See Sakoma APA at 3, ¶¶ 2.02, 2.04(a).

                                                     18



 10-06123-tjt      Doc 205      Filed 10/17/14       Entered 10/17/14 16:45:27       Page 18 of 46
Inc. v. Jumer (In re Jumer’s Castle Lodge, Inc.), 338 B.R. 344, 356 (C.D. Ill. 2006), aff’d, 472

F.3d 943 (7th Cir. 2007); Brown v. Gen. Elec. Capital Corp. (In re Foxmeyer Corp.), 286 B.R.

546, 573-74 (Bankr. D. Del. 2002).

       In support of his narrower view of the transaction, the Trustee points to the integration

clause in the Sakoma APA, which states:

             7.10 Entire Agreement. This Agreement sets forth the entire
             understanding and agreement between the parties as to the transactions
             contemplated hereby and supersedes and replaces any prior understanding,
             agreement or statement of intent, in each case, written or oral, of any and
             every nature with respect to such understanding, agreement or statement.27

This provision does not require the Court to put on blinders and ignore the fact that the Sakoma

APA was an integral part of the larger transaction. Nor can the Court ignore the fact that the

parties to the Sakoma APA, together with the other parties to the other related agreements in the

larger transaction, contemplated that all of the agreements, and all of the transactions

contemplated by the agreements, were related parts of the larger transaction.

       The reference in the Sakoma APA’s integration clause to the Sakoma APA document

being “the entire understanding and the agreement between the parties as to the transactions

contemplated hereby” clearly means that the Sakoma APA stated all of the terms of that piece of

the larger transaction, and nothing more. Neither this provision nor any other provision in the

Sakoma APA suggests otherwise. Moreover, there are references in the Sakoma APA to the

other agreements that were part of the larger transaction, and there are multiple references in the

other agreements to the Sakoma APA.28


       27
            Sakoma APA (Ex. 10b of Docket # 110 in Adv. No. 10-6423) at 11 ¶ 7.10.
       28
            See THB/TENA Reply Br. (Docket # 142) at 3 (citing examples).

                                                  19



 10-06123-tjt      Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27          Page 19 of 46
       Based on the present record, the Court concludes that the Trustee has not presented

evidence sufficient to support or permit summary judgment for the Trustee on either of his

fraudulent transfer theories relating to the Sakoma APA (constructive fraudulent transfer and

“actual intent” fraudulent transfer, including the Trustee’s arguments that certain “badges of

fraud” exist).

       For all of the these reasons, the Trustee’s first summary judgment motion (Docket # 104)

must be denied.

V.   The Trustee’s second summary judgment motion (Docket # 107) and the summary
     judgment motion filed by THB and TENA (Docket # 110)

       In the second of his summary judgment motions, filed at Docket # 107, the Chapter 7

Trustee seeks summary judgment on Count I of his complaint in Adversary No. 10-6123, against

THB and TENA. This count is sometimes referred to by the parties as the “due to/due from”

claim. The Trustee seeks a judgment, jointly and severally against THB and TENA, in the

amount of $625,488.00.29 The Trustee claims that this is the net amount owing by THB and

TENA to the Debtor’s estate, which arose because of a net increase in the Debtor’s liability on

the Debtor’s line of credit with Comerica. That increase arose during the period between the

January 1, 2008 Effective Date of the Kensa Business Entity transactions and the date in March

2008 when the Debtor paid off the balance owing on the Comerica line of credit (the “gap

period”). The Trustee calculates this net amount of increase in the Comerica line of credit as

$1,468,589.82 ($1,569,593.82 increase in the line of credit minus a payment on the line of credit



       29
           Count I of the Trustee’s complaint demands judgment in the amount of $1,532,153.09. But as
the Trustee explained in his summary judgment motion and during the hearing on the summary judgment
motions, the Trustee is now only seeking the amount of $625,488.00 under Count I.

                                                 20



 10-06123-tjt     Doc 205     Filed 10/17/14      Entered 10/17/14 16:45:27        Page 20 of 46
in the amount of $101,004.00 that THB made in early March 2008). The Trustee then reduces

this amount by the $843,102.00 amount that the Trustee says was owing from the Debtor to

THB/TENA, arising out of the same time period. The resulting net amount is $625,488.00

owing to the bankruptcy estate (rounded up from $625,487.82), according to the Trustee.

       In their joint motion for summary judgment, filed at Docket # 110, THB and TENA seek

summary judgment on all claims asserted against them by the Chapter 7 Trustee in these

adversary proceedings. These include Counts I, IV, and V of the Trustee’s complaint in

Adversary No. 10-6123, and Counts IV and V of the Trustee’s cross-claims in Adversary No. 10-

7341. Counts IV and V in the Trustee’s complaint allege that “[t]he Sakoma APA, the THB

APA and the Honduras APA transferred substantially all of the assets of the Debtor” to THB,30 as

“initial transferee,” and later to TENA, as “the immediate transferee.”31 These counts seek to

avoid the transfers as fraudulent, and recover, from THB and TENA, the unspecified amount by

which the Debtor’s “going concern value” at the time of the transfers exceeded the purchase

price in the Kensa Business Entity transaction.32

       The counts against THB and TENA in the Trustee’s cross-claims filed in Adversary No.

10-7341, Counts IV and V, seek judgment on the same avoidance-and-recovery theories that the

Trustee seeks in other counts against Sakoma, as described at the beginning of Part IV of this




       30
            E.g., Trustee Compl. in Adv. No. 10-6123 (Docket # 1) at ¶ 92.
       31
            Id. at ¶¶ 104, 105, 119, 120.
       32
            See id. at 19, 21.

                                                   21



 10-06123-tjt       Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27    Page 21 of 46
opinion.33 As with the counts against Sakoma, discussed above, these counts in the Trustee’s

cross-claims narrowly focus on the transfer of the Debtor’s assets under the Sakoma APA.

        The Court must deny both of these summary judgment motions, for the following

reasons.

        A. Count I of the Trustee’s complaint (the “due to/due from” claim)

        The Court makes the following conclusions relevant to the cross-motions on Count I (the

“due to/due from” claim) of the Trustee’s complaint.

        First, any increase in the Debtor’s liability under the Comerica line of credit that occurred

during the gap period, the proceeds of which were used for the operations of the “Transferred

Assets” (as that term is defined in ¶ 2.01(a) of the THB APA) after January 1, 2008, is a liability

that was assumed by THB under ¶ 2.02(a)(ii) of the THB APA.34 Any other increase in the

Debtor’s liability under the Comerica line of credit that occurred during or before the gap period

is a liability of the Debtor that was not assumed by THB, under the THB APA or otherwise.

Rather, any such other increase is a liability that was excluded from the liabilities that THB


        33
             See Trustee’s Cross-Claim (Docket # 5 in Adv. No. 10-7341) at 11-14.
        34
          Paragraph 2.02(a)(ii) of the THB APA, which contains several terms that are defined
elsewhere in the agreement, states:

                          (a) On the terms and subject to the conditions of this Agreement,
                  at the Closing, Purchaser agrees to assume and discharge or perform
                  when due, and shall assume pursuant to the Assumption Agreement, the
                  following Liabilities (the “Assumed Liabilities”):
                  ...

                          (ii) all obligations, Claims, Damages, and Liabilities arising out
                  of the operations of the Transferred Assets from and after the Effective
                  Date;

(Ex. 10 of Docket # 110 in Adv. No. 10-6123 at ¶ 2.02(a)(ii)(underlining in original)).

                                                      22



 10-06123-tjt       Doc 205       Filed 10/17/14       Entered 10/17/14 16:45:27           Page 22 of 46
assumed, by ¶ 2.02(b)(ii) of the THB APA.35 These sections make clear that THB had no

liability, to the Debtor or to anyone else, for any such other increase in the Comerica line of

credit. The THB APA, and the provisions just cited, are clear and unambiguous on each of these

points.36

         As noted above, the Trustee calculates that the net amount of increase in the Debtor’s

Comerica line of credit that occurred between the January 1, 2008 Effective Date of the THB

APA and the March 2008 Comerica line of credit payoff was $1,468,589.82. Of this, the

evidence presently in the record indicates that some amount may have been used to pay the

Debtor’s accounts payable that arose before the January 1, 2008 Effective Date. None of any

such amount can be deemed to have been used for the operation of the “Transferred Assets” after

January 1, 2008, but rather must be deemed to have been used for the operation of the those



         35
              Paragraph 2.02(b)(ii) of the THB APA states:

                           (b) Purchaser is not assuming, and shall not assume pursuant to
                   the Assumption Agreement, any Liability of Seller other than the
                   Assumed Liabilities, and Sellers shall retain all such other Liabilities,
                   including the Liabilities set forth below ("Excluded Liability"):
                   ...

                           (ii) All obligations, Claims, Damages and obligations arising out
                   of the operation of the Business prior to the Effective [D]ate.

(Id. at ¶ 2.02(b)(ii).)
         36
             THB and TENA argue, more broadly, that the parties could not have intended for THB to
assume liability for any part of the Debtor’s debt on the Comerica line of credit, because the parties
contemplated and intended that the line of credit would be paid off as a result of the agreements that were
closed on February 29, 2008. And, in fact, the line of credit was paid off. But the Court rejects this
argument. THB and TENA have cited no provision in the THB APA, or in any other of the February 29,
2008 agreements, that support this argument. And as the Court concludes above, under the unambiguous
provisions of the THB APA, THB did assume liability for an increase in the Debtor’s Comerica line of
credit, if and to the extent proceeds of such increase were used for the operations of the “Transferred
Assets” after January 1, 2008.

                                                      23



 10-06123-tjt        Doc 205       Filed 10/17/14      Entered 10/17/14 16:45:27          Page 23 of 46
assets before January 1, 2008. Any such amount therefore is an excluded liability under the

THA APA sections cited above. By contrast, any amount used to pay the Debtor’s accounts

payable that arose after January 1, 2008 must be deemed to have been used for the operation of

the “Transferred Assets” after January 1, 2008. Any such amount, therefore, is a liability that

THB assumed, and is not an excluded liability.

       The evidence presently in the record does not demonstrate, beyond a genuine dispute, the

amounts of these assumed and excluded liabilities. Each side has filed numerous exhibits,

including an affidavit and/or reports from accounting experts. But neither side has presented

evidence showing, beyond a genuine dispute, the following: how much of the Debtor’s accounts

payable, that were paid with proceeds from post-Effective Date increases in the Comerica line of

credit, were incurred by the Debtor before the January 1, 2008 Effective Date, as opposed to

incurred after January 1, 2008?

       Because of this, the Court cannot yet determine how much, if any, of the post-January 1,

2008 increase in the Comerica line of credit is a liability assumed by THB under the THB APA.

For this reason, the Court cannot grant summary judgment for either the Trustee or for

THB/TENA on the Trustee’s “due to/due from” claim.37

       The Trustee’s accounting expert, Kurt P. Mueller, stated in his affidavit that “[t]he

[$1,569,593.82 in] additional funds advanced by Comerica Bank under the Line of Credit

between January 1, 2008 and February 29, 2008 were used to fund the operations of THB




       37
          TENA makes other arguments as to why it is entitled to summary judgment on this claim,
which are discussed later in this opinion.

                                                 24



 10-06123-tjt     Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27         Page 24 of 46
America, LLC, after January 1, 2008.”38 And in his unsworn expert report, dated September 28,

2012, Mr. Mueller asserted that under ¶ 2.02(a) of the THB APA, THB “assumed all liabilities

incurred by the Debtor beginning January 1, 2008 which directly related to the transferred

assets,” and that “[t]herefore, the Debtor’s Comerica line of credit obligation increase of

$1,569,592.82 during the period from January 1, 2008 through February 29, 2008 was an

assumed liability” of THB.39

       In his affidavit and expert report, the Trustee’s expert Mr. Mueller, like the Trustee in his

summary judgment arguments, takes too broad a view of what liabilities were assumed by THB

under the THB APA, and specifically under ¶ 2.02 of that agreement. To establish THB’s

liability, it is not enough to show merely that the proceeds of the post-January 1, 2008 increases

in the Comerica line of credit “were used to fund the operations of” the Debtor. Nor is it enough

to show merely that the increase in the Comerica line of credit occurred after January 1, 2008 and

its proceeds were used in a way that was “directly related to the transferred assets.” Rather, the

THB APA provisions discussed above unambiguously mean that THB did not assume, but rather

excluded, liability for any post-January 1, 2008 increase in the Comerica line of credit to the

extent the proceeds of that increase were used by the Debtor to pay accounts payable that arose

before January 1, 2008. Such accounts payable, and therefore any increase in the Comerica line

of credit used to pay such accounts payable, were not “obligations [or] Liabilities arising out of

the operations of the Transferred Assets from and after the Effective Date,” within the meaning


       38
          Aff. of Kurt P. Mueller, dated November 15, 2012 (copy attached as Ex. C to Docket # 127 in
Adv. No. 10-6123), at ¶¶ 16, 17.
       39
           See Expert Witness Report of Kurt P. Mueller, CPA, dated September 28, 2012 (copy attached
as Ex. D to Docket # 127, filed in Adv. No. 10-6123), at 5, 6.

                                                 25



 10-06123-tjt     Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27         Page 25 of 46
of ¶ 2.02(a)(ii) of the THB APA (“Assumed Liabilities”). Rather, they were “obligations arising

out of the operation of the Business prior to the Effective [D]ate,” within the meaning of

¶ 2.02(b)(ii) of the THB APA (“Excluded Liability”).

        There is no evidence in the record from the Trustee’s expert Kurt Mueller that quantifies

or attempts to quantify the amount, if any, of these excluded liabilities, or the amount of the

liability assumed by THB, if any, under the Court’s view of what liabilities THB assumed and

did not assume.40 THB and TENA have not demonstrated that the Trustee and its accounting

expert Mr. Mueller cannot quantify these amounts; rather, only that they have not yet done so.

        THB and TENA argue in detail how the Trustee’s evidence does not establish how much,

if any, of the increased line of credit was used by Debtor to pay accounts payable or other

business expenses arising after January 1, 2008, as opposed to those arising before that date.

And THB and TENA cite, among other things, an unsworn rebuttal report from their accounting

expert, Michael N. Kahaian, dated October 15, 2012, and Mr. Kahaian’s unsworn expert report,

dated September 28, 2012.41 The Court agrees with THB and TENA that the evidence cited by

the Trustee, including but not limited to the Kurt Mueller affidavit and expert report, does not

establish the validity and amount of the Trustee’s “due to/due from” claim.




        40
           For example, and as THB and TENA correctly state, Mr. Mueller’s expert report shows that
“[h]e did not . . . look at the checks written off the line of credit in January and February of 2008 and
then match them to the invoices that they actually paid.” (THB/TENA Br., Docket # 127 filed in Adv.
No. 10-6123, at 15).
        41
       These documents are in the record as Ex. 3a and Ex. 3, respectively, attached to the
THB/TENA brief at Docket # 110, filed in Adv. No. 10-6123.

                                                    26



 10-06123-tjt      Doc 205      Filed 10/17/14       Entered 10/17/14 16:45:27           Page 26 of 46
       During the hearing on the summary judgment motions, counsel for THB/TENA went a

step further, and argued that Mr. Kahaian’s expert report42 actually establishes that THB and

TENA owe nothing to the estate on the Trustee’s “due to/due from” claim. But THB and TENA

have not adequately explained, in any of their briefs or during the hearing, how Mr. Kahaian’s

expert report, which is quite complex, negates the Trustee’s specific “due to/due from” claim.

And this is not readily apparent to the Court from reading the expert report. The Court therefore

disregards this summary judgment argument by THB and TENA, as perfunctory and not

adequately developed. See McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997)(citations

omitted)(“‘[I]ssues adverted to in a perfunctory manner, unaccompanied by some effort at

developed argumentation, are deemed waived. It is not sufficient for a party to mention a

possible argument in the most skeletal way, leaving the court to ... put flesh on its bones.’”);

Seoane-Vazquez v. Ohio State Univ., No. 13-3029, 2014 WL 4057829, at *15 (6th Cir. Aug. 18,

2014)(Batchelder, J., concurring in part and dissenting in part)(citing cases).

       The Court concludes that there are genuine disputes of material fact that preclude

summary judgment for either the Trustee or THB/TENA regarding Count I (the “due to/due

from” claim) of the Trustee’s complaint.

       B. Counts IV and V of the Trustee’s cross claims against THB and TENA in
          Adversary No. 10-7341 (alleged fraudulent transfer of Debtor’s accounts
          receivable under the Sakoma APA)

       In Counts IV and V of the Trustee’s cross-claims in Adversary No. 10-7341, the Trustee

seeks the same relief against THB and TENA that he seeks against Sakoma, as discussed in Part

IV of this opinion — namely, avoidance of the Debtor’s transfer of its accounts receivable to


       42
            Ex. 3 to Docket # 110.

                                                 27



 10-06123-tjt      Doc 205      Filed 10/17/14    Entered 10/17/14 16:45:27         Page 27 of 46
Sakoma under the Sakoma APA, as a fraudulent transfer. The Trustee alleges that while the

Sakoma APA provided that the accounts receivable of the Debtor were transferred to Sakoma,

THB collected and obtained those accounts receivable of the Debtor, and that TENA is the

successor of THB.43

       THB and TENA make several arguments in support of summary judgment on the

Trustee’s claims and cross-claims against them. But the Court must deny their summary

judgment motion in its entirety, for the reasons discussed below.

       The first two arguments by THB and TENA focus on the Trustee’s claims that the

Debtor’s transfer of its accounts receivable under the Sakoma APA was an avoidable fraudulent

transfer. This claim by the Trustee is discussed in Part IV of this opinion.

       1. The argument that the Debtor’s accounts receivable were fully encumbered by a
          valid lien at the time of their transfer

       THB and TENA first argue that the transfer of the Debtor’s accounts receivable under the

Sakoma APA cannot be avoided as a fraudulent transfer claim under the Uniform Fraudulent

Transfer Act (“UFTA”), because at the time of the transfer, the Debtor’s accounts receivable

were fully encumbered by Comerica’s all-asset lien, to secure repayment of the Debtor’s debt to

Comerica, including the Debtor’s debt under the Comerica line of credit. As THB and TENA

correctly point out, Michigan’s version of the UFTA excludes from the definition of “asset”

property of the debtor “to the extent it is encumbered by a valid lien.” Mich. Comp. Laws Ann.

§ 566.31(b)(i). Because of this, a debtor’s transfer of a fully encumbered asset does not fall

within the UFTA’s definition of “transfer,” which is limited to disposing of “an asset or an



       43
            Count I of Trustee’s Compl. in Adv. No. 10-6123 (Docket # 1) at ¶ 41.

                                                   28



 10-06123-tjt      Doc 205      Filed 10/17/14      Entered 10/17/14 16:45:27       Page 28 of 46
interest in an asset.” See Mich. Comp. Laws Ann. § 566.31(l). Because the fraudulent transfer

provisions of the UFTA apply only to a “transfer” by a debtor, or an “obligation incurred” by a

debtor, a debtor’s transfer of property that is fully encumbered by a valid lien cannot be

considered a “transfer” that can be avoided under any of the provisions of the UFTA. See Mich.

Comp. Laws Ann. §§ 566.34(1), 566.35(1), 566.35(2).

        There is no genuine dispute that at the time of the February 29, 2008 closing of the

Sakoma APA, Comerica had a valid lien that fully encumbered all of the Debtor’s accounts

receivable.44 As a result, the Debtor’s transfer of its accounts receivable at that time cannot be

avoided as a fraudulent transfer under the Michigan’s version of the UFTA. See generally

Rafool v. Propac Sys., LLC (In re Fleming Packaging Corp.), No. 05-8124, 2007 WL 1021884

(Bankr. C.D. Ill. 2007).

        The Trustee does not dispute these points of law about the UFTA. But of the Trustee’s

fraudulent transfer counts against THB and TENA, only one includes a claim for avoidance

under Michigan’s version of the UFTA, via 11 U.S.C. § 544(b) — namely, Count IV of the

Trustee’s Complaint in Case No. 10-6123. All of the other counts seek avoidance only under

§ 548 of the Bankruptcy Code, 11 U.S.C. § 548(a)(1). And Count IV of the Trustee’s Complaint

is not limited to seeking avoidance of the transfer of the Debtor’s accounts receivable under the

Sakoma APA. Rather, that account more broadly seeks avoidance of the transfer of all of the

Debtor’s assets under the Sakoma APA, the THB APA, and the Hondurus APA, by which the



        44
           The Trustee initially argued that at the time of the transfer of the Debtor’s accounts receivable,
the Comerica lien had been discharged because the debt to Comerica, including the line of credit, had
been paid off. The Trustee’s argument is incorrect, however, because there is no genuine dispute that the
Comerica line of credit was not paid off until March 2008.

                                                     29



 10-06123-tjt      Doc 205       Filed 10/17/14      Entered 10/17/14 16:45:27            Page 29 of 46
Trustee alleges the Debtor “transferred substantially all of the assets of Debtor to THB.”45 In

their summary judgment motion, THB and TENA do not discuss whether or how their legal

argument under the UFTA applies to this broader fraudulent transfer claim. With respect to

Count IV, therefore, THB and TENA are not entitled to summary judgment on the Trustee’s

fraudulent transfer claim, based on their argument that the Debtor’s accounts receivable were

fully encumbered by a lien at the time of transfer.

       And THB/TENA’s argument under the Michigan UFTA does not constitute a defense to

the Trustee’s fraudulent transfer claims based on § 548(a)(1) of the Bankruptcy Code, including

the Trustee’s claim seeking avoidance of the Debtor’s transfer of its accounts receivable under

the Sakoma APA. It is not a valid defense, per se, if the Debtor’s accounts receivable were fully

encumbered by the Comerica lien at the time of transfer. Unlike the UFTA, § 548(a)(1) is not

limited to avoidance of transfers of the Debtor’s unencumbered property. First, there is no such

explicit limitation in § 548. Second, the two cases cited by THB and TENA for the proposition

that such a limitation is implicit under § 548, are distinguishable from this case. See Pioneer

Liquidating Corp. v. San Diego Trust & Savings Bank (In re Consol. Pioneer Mortg. Entities),

211 B.R. 704, 717-18 (S.D. Cal. 1997), aff’d in part, rev’d in part, 166 F.3d 342 (9th Cir. 1999);

Richardson v. Huntington Nat’l Bank (In re Cyberco Holdings, Inc.), 382 B.R. 118, 135-43

(Bankr. W.D. Mich. 2008).

       In both Consolidated Pioneer and Richardson, the transferee of the debtor’s alleged

fraudulent transfers was the secured creditor who had a fully secured lien in the assets

transferred. The district court and the court of appeals in Consolidated Pioneer each reasoned


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            Trustee’s Compl. in Adv. No. 10-6123 (Docket # 1) at ¶ 92.

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 10-06123-tjt      Doc 205      Filed 10/17/14      Entered 10/17/14 16:45:27     Page 30 of 46
that in that situation there could be no avoidable fraudulent transfer under § 548 because the

transfer had not depleted or diminished the Debtor’s estate. These courts viewed diminution of

the estate to be an implied requirement for avoidance under § 548.

        The bankruptcy court’s reasoning in Richardson was somewhat different. There, the

court reasoned that the Debtor’s transfer of fully encumbered assets to its secured creditor did not

constitute a “transfer. . . of an interest of the Debtor in property” within the meaning of

§ 548(a)(1), but rather was merely a transfer of the secured creditor’s own property — its

collateral — to that creditor. Richardson, 382 B.R. at 137-141.46

        The court does not view these two cases as establishing a per se rule precluding

avoidance under § 548(a)(1) of a debtor’s transfer of a fully encumbered asset, to anyone, even to

a transferee other than the secured creditor that has a lien on the assets. No such rule can be

derived from the wording of § 548(a)(1). And a debtor’s transfer of property it owns, but which

property is subject to a valid lien, is still a transfer of “an interest of the debtor’s property,”

within the meaning of § 548(a)(1), even if the lien fully encumbers the property. See generally

United States v. Whiting Pools, Inc., 462 U.S. 198, 204-05 (1983)(property of the bankruptcy

estate under 11 U.S.C. § 541(a)(1), which includes, with certain exceptions, “all legal or

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          The Richardson court noted 11 U.S.C. § 548(c), but did not rest its decision on that section.
Richardson, 382 B.R. at 138. Section 548(c) provides:

                Except to the extent that a transfer or obligation voidable under this
                section is voidable under § 544, 545, or 547 of this title, a transferee or
                obligee of such a transfer or obligation that takes for value and in good
                faith has a lien on or may retain any interest transferred or may
                enforce any obligation incurred, as the case may be, to the extent that
                such transferee or obligee gave value to the Debtor in exchange for
                such transfer or obligation.

(Emphasis added).

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 10-06123-tjt       Doc 205     Filed 10/17/14       Entered 10/17/14 16:45:27           Page 31 of 46
equitable interests of the debtor in property as of the commencement of the case,” includes

property of the debtor that is subject to a lien or security interest).

        The Court concludes that the following is the proper way to view a debtor’s alleged

fraudulent transfer of property that was subject to a lien, under § 548(a)(1) and related

provisions. The transfer is a “transfer of an interest of debtor in property” within the meaning of

§ 548(a)(1), and is subject to avoidance if the necessary elements of avoidance under

§§ 548(a)(1)(A) or 548(a)(1)(B) are met. When the property transferred was encumbered by a

valid lien at the time of transfer, the issue under § 548(a)(1)(B) includes whether the debtor

“received less than a reasonably equivalent value in exchange for such transfer.” To the extent

the transfer satisfied the debtor’s debt to the secured creditor/transferee, or satisfaction of the

debt of the debtor to another party, the debtor is deemed to have received “value” for the transfer,

under 11 U.S.C. § 548(d)(2)(A).

        Thus, in a situation like that in Consolidated Pioneer and Richardson, where the debtor

transferred fully encumbered property to its secured creditor, and the debtor’s debt to that

creditor was thereby satisfied to the extent of the value of the property/collateral transferred, the

debtor has by definition received reasonably equivalent value in exchange for the transfer, and

the transfer cannot be avoided under § 548(a)(1)(B). And in that situation, the debtor cannot be

shown to have made the transfer “with actual intent to hinder, delay, or defraud” creditors, within

the meaning of § 548(a)(1)(A), because the debtor obviously intended to pay one of its creditors,

and an intent to prefer one creditor over other creditors does not constitute an intent to “hinder,

delay, or defraud” creditors. See generally Rubin Bros. Footwear, Inc. v. Chemical Bank (In re

Rubin Bros. Footwear, Inc.), 119 B.R. 416, 423 (S.D.N.Y. 1990)(“In order to avoid a transfer


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 10-06123-tjt      Doc 205      Filed 10/17/14      Entered 10/17/14 16:45:27         Page 32 of 46
under section 548(a)(1), there must be actual intent to defraud creditors. Mere intent to prefer one

creditor over another, although incidentally hindering or delaying creditors, will not establish a

fraudulent transfer under section 548(a)(1).”)(citations omitted); Lichtenstein v. MBNA America

Bank, N.A. (In re Computer Personalities Sys., Inc.), 284 B.R. 415, 420 n.9 (Bankr. E.D. Pa.

2002)(“In order to prove a fraudulent conveyance, it is insufficient to show only that a transfer

had the effect of defrauding certain creditors or that the transfer was made in preference to other

creditors [.]”)(internal quotation marks and citations omitted); Roemelmeyer v. Intercontinental

Bank (In re Lucar Enters., Inc.), 49 B.R. 717, 718-19 (Bankr. S.D. Fla. 1985)(“agree[ing] with

the holdings in the Second and Eighth Circuits that the intent which the trustee must prove under

§ 548(a) must be more than a simple intent to prefer a creditor[,]” and refusing to “ascribe to

§ 548(a)(1) a legislative intent to authorize the avoidance of a transaction made with an intent to

effect a preferential transfer simply because that was the actual intent of the parties[,]” because

“[t]he Code provides a complete remedy to recover impermissible preferential transfers”)

(citations omitted).47

        In this case, the Debtor’s transfer of its accounts receivable under the Sakoma APA is

different from the type of transfer involved in Consolidated Pioneer and Richardson. In this

case, the transfer was not made to Comerica, the Debtor’s secured creditor who had a valid lien

on the accounts receivable. Rather, the Trustee alleges that the transfer was made to Sakoma and

to THB.



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            Moreover, § 548(c), quoted above, makes it clear than even if the transfer in this situation
were somehow avoidable under § 548(a)(1)(but not §§ 544, 545, or 547), the transferee/secured creditor
must be deemed to have “taken for value,” and merely needs to show that it took “in good faith” in order
to “retain any interest transfer” to the extent of the value it gave to the debtor.

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 10-06123-tjt     Doc 205      Filed 10/17/14      Entered 10/17/14 16:45:27          Page 33 of 46
       And as THB and TENA vigorously contend in their other arguments, the transfer was

only one part of a larger and more complex series of transactions, by which most or all of the

assets of the Kensa Business Entity was transferred to THB America, THB Hondurus, and

Sakoma. See discussion in Parts II and IV.B of this opinion. The Court has concluded, for the

reasons stated in Part IV.B of this opinion, that it must decide the merits of Trustee’s fraudulent

transfer claims by viewing the entire transaction, and among other things, determining whether

the value of everything that the Debtor transferred in the larger transaction was reasonably

equivalent to the value of all of the benefits, direct and indirect, that the Debtor received in

exchange, from any source. Such value received by the Debtor includes the payment of the

Debtor’s entire debt to Comerica, which was roughly $9.2 million as of the closing of the Kensa

Business Entity transaction. THB and TENA have not demonstrated, on the present record, that

when the transfer of Debtor’s assets is viewed in that light, the Debtor received reasonably

equivalent value.

       For these reasons, THB and TENA are not entitled to summary judgment on any of the

Trustee’s fraudulent transfer claims, on the sole ground that the Debtor’s accounts receivable

were fully encumbered by a valid lien at the time of transfer.

       2. The argument that the Trustee cannot prove the value of the Debtor’s accounts
          receivable when they were transferred

       THB and TENA next argue that the Trustee cannot meet his burden of proving the value

of the accounts receivable that Debtor transferred under the Sakoma APA. Section 548(b)(1)(B)

requires, among other things, proof that the Debtor received “less than a reasonably equivalent




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 10-06123-tjt       Doc 205    Filed 10/17/14      Entered 10/17/14 16:45:27         Page 34 of 46
value in exchange” for the transfer. The face amount of the receivables, of course, does not

necessarily equate to the actual value of those receivables at the time they were transferred.

        On the present record, however, the evidence is sufficient to create a genuine dispute of

material fact, precluding summary judgment for THB/TENA on this issue. The Trustee has

presented some evidence regarding the actual value of the accounts receivable transferred.

Harold Zaima testified that “90-plus percent, almost all the debtor’s receivables were already

collected” during the time period of January 1 to February 29, 2008, and that “there were a few

stragglers in March, that was it.”48 This is sufficient for the Trustee to avoid summary judgment

on this issue.

        3. TENA’s argument that it cannot be found liable under any theory

        TENA seeks summary judgment on the Trustee’s claims on an additional ground — that

even if THB could be found liable on any of the Trustee’s claims, TENA cannot be liable under

any legal theory. The Trustee argues that TENA is liable on a successor liability theory under

Michigan law, as the successor to THB. The Trustee’s theory is that TENA is a mere

continuation of THB, which purportedly was dissolved in June 2009. TENA disputes the

Trustee’s successor liability theory.

        Certain facts relevant to this issue are disputed, and others are not. The Trustee and

TENA agree upon the following facts. As the Court summarized at the end of Part II of this

opinion, after the transaction involving the sale of most or all of the assets of the Kensa Business

Entity, one of the results was that CAE US owned 80% of the membership interest in THB,

among other things. (Zaima Family, LLC owned the other 20%). Later, on April 17, 2009, CAE


        48
             Tr. of Harold Zaima November 29, 2011 Dep. (Docket # 130, Ex. 22), at 47.

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 10-06123-tjt       Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27            Page 35 of 46
US merged with TENA, with TENA being the surviving entity. One result of this merger was

that TENA replaced CAE US as the 80% member of THB. Then, on June 6, 2009, TENA

purportedly caused THB to dissolve.

       The Trustee alleges, but TENA disputes, that after THB was dissolved, TENA “took all

of the assets” of THB, and TENA “has never liquidated and distributed the assets [of THB] to the

creditors [of THB], as required by the Operating Agreement of” THB.49 This is, in part, why the

Trustee contends that TENA is liable for the debt owing by THB to the bankruptcy estate under a

successor liability theory.

       TENA alleges, but the Trustee disputes, that the assets of THB were property disposed of,

and that TENA properly acquired the THB assets, through a lawful purchase of those assets as a

secured creditor of THB. TENA argues that no successor liability can attach to it for any of the

debts of THB.

       In further support of its position, TENA alleges, but the Trustee disputes, the following

facts: CAE US loaned more than $7 million to THB, and obtained a security interest in all of

THB’s assets.50 TENA succeeded to CAE US’s position as secured creditor of THB, as a result

of the merger with CAE US. After TENA dissolved THB on June 5, 2009, according to TENA,

“THB began the winding down process,” and “[i]n January of 2010, in lieu of foreclosing on

[THB’s] remaining assets under Article 9 of the UCC, TENA, as a secured lender, agreed instead

to purchase those remaining assets (as an offset against the debt owed to TENA), which were




       49
            Trustee’s Br. (Docket # 107) at pdf p. 14.
       50
            THB/TENA Br. (Docket # 127) at 7.

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 10-06123-tjt       Doc 205      Filed 10/17/14      Entered 10/17/14 16:45:27   Page 36 of 46
appraised at a fair market value of $3,583,945. At the time of this credit-purchase, TENA was

owed more than $6.6 million by THB.”51

       The Trustee does not admit these facts alleged by TENA, and correctly points out that

TENA has failed, so far, to support these facts with any admissible evidence or properly

authenticated documents in the record. For that reason, the Court cannot accept these facts as

established, for purposes of ruling on the summary judgment motions.

       The Trustee argues that TENA is liable to the bankruptcy estate for the debts of THB, on

a successor liability theory under Michigan law, because it is a “mere continuation” of THB.

TENA argues that under Michigan law, there is no such successor liability in a commercial

context, in cases that do not involve a products liability claim brought by an injured victim of a

defective product, citing Starks v. Michigan Welding Specialists, Inc., 722 N.W.2d 888, 889

(Mich. 2006). The Trustee disputes TENA’s view of Michigan law.

       Having reviewed the cases cited by the parties and other cases, the Court concludes that

the traditional exceptions under Michigan law for the general rule of corporate successor non-

liability, one of which is the “mere continuation” exception, do apply in the commercial context,

and are not limited to product liability cases. The Michigan Supreme Court’s one paragraph

opinion in the Starks case, cited by TENA, does not hold otherwise.52 Rather, the Court

       51
            Id. at 8 (record citations omitted).
       52
            The majority opinion in Starks states as follows:

                 Where, as here, a successor corporation acquires the assets of a
                 predecessor corporation and does not explicitly assume the liabilities of
                 the predecessor, the traditional rule of corporate successor non-liability
                 applies. See, Foster v. Cone Blanchard Machine Co., 460 Mich. 696,
                 702, 597 N.W.2d 506 (1999). Because an exception designed to protect
                 injured victims of defective products rests upon policy reasons not

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 10-06123-tjt       Doc 205       Filed 10/17/14      Entered 10/17/14 16:45:27           Page 37 of 46
concludes, based on the cases discussed below, that Starks limited, to product liability cases, a

different exception to the traditional rule of non-liability of corporate successors, namely, the

“continuity of the enterprise” doctrine, which is a separate basis for imposing successor liability

from the “mere continuation” doctrine.

        In Stramaglia v. United States, 377 Fed. Appx. 472, 474-75 (6th Cir. 2010), the United

States Court of Appeals for the Sixth Circuit described and applied Michigan’s traditional rule of

non-liability for corporate successors, and its five exceptions, including the “mere continuation”

exception:

             Michigan follows the "traditional rule of nonliability for corporate
             successors who acquire a predecessor through the purchase of assets."
             Foster v. Cone Blanchard Mach. Co., 460 Mich. 696, 597 N.W.2d 506,
             509 (1999). However, Michigan recognizes five narrow exceptions to the
             traditional rule of non-liability:

             (1) where there is an express or implied assumption of liability; (2) where
             the transaction amounts to a consolidation or merger; (3) where the
             transaction was fraudulent; (4) where some elements of a purchase in good
             faith were lacking, or where the transfer was without consideration and the
             creditors of the transferor were not provided for; or (5) where the
             transferee corporation was a mere continuation or reincarnation of
             the old corporation.


                 applicable to a judgment creditor, the Court declines to expand the
                 exception to the traditional rule set forth in Turner v. Bituminous
                 Casualty Co., 397 Mich. 406, 244 N.W.2d 873 (1976), to cases in which
                 the plaintiff is a judgment creditor.

Starks, 77 N.W.2d at 889. The single-justice dissenting opinion in Starks states:

                 The issue of whether the continuity of the enterprise doctrine recognized
                 in Turner v. Bituminous Casualty Co., 397 Mich. 406, 244 N.W.2d 873
                 (1976), extends beyond products liability actions warrants further
                 discussion and closer attention from this Court.

Id. (Kelly, J. dissenting).


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 10-06123-tjt       Doc 205     Filed 10/17/14       Entered 10/17/14 16:45:27          Page 38 of 46
           Id. at 509-10 (quoting Turner v. Bituminous Casualty Co., 397 Mich. 406,
           244 N.W.2d 873, 878 n. 3 (1976)).

(Emphasis added).

       Later, in a case decided in 2013, the Sixth Circuit reiterated Michigan’s traditional rule of

non-liability and its five exceptions, including the “mere continuation” exception. In C.T.

Charlton & Assocs. Inc. v. Thule, Inc., 541 Fed. Appx. 549 (6th Cir. 2013). The court held that

the “mere continuation” doctrine of successor liability still applies under Michigan law, and is

not limited to products liability cases, even after Starks. In Charlton, the Sixth Circuit held that

there is a further exception to the rule against successor liability under Michigan law, in addition

to the traditional five exceptions, which the court referred to as the “continuity of the enterprise”

doctrine. It is that doctrine that applies only in product liability cases under Michigan law. As

the Sixth Circuit explained at length, this is a different exception to the rule against successor

liability from the “mere continuation” exception, and it is only that “continuity of the enterprise”

exception that is limited to product liability cases by Starks. The “mere continuation” exception

retains its general applicability under Michigan law, and does apply in the commercial context. It

is not limited to product liability cases by Starks. As the Sixth Circuit explained, at length:

           Michigan follows the traditional rule of successor liability, under which
           the successor in a merger ordinarily assumes all of its predecessor's
           liabilities, but a purchaser of assets for cash does not. Foster v. Cone
           Blanchard Mach. Co., 460 Mich. 696, 597 N.W.2d 506, 509 (1999). With
           respect to asset purchases, this general rule is subject to five narrow
           exceptions: 1) express or implied assumption of liability; 2) de facto
           consolidation or merger; 3) fraud; 4) transfer lacking good faith or
           consideration; and 5) "mere continuation or reincarnation of the old
           corporation." Id. at 509 10. In Turner v. Bituminous Cas. Co., 397 Mich.
           406, 244 N.W.2d 873 (1976), the Michigan Supreme Court expanded
           the scope of successor liability in the products-liability context,


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 10-06123-tjt     Doc 205      Filed 10/17/14     Entered 10/17/14 16:45:27         Page 39 of 46
        establishing the "continuity of the enterprise" doctrine. Turner, 244
        N.W.2d at 883. Under this doctrine, successor liability is imposed if 1)
        there is continuity of management, personnel, location, assets, and
        operations; 2) the predecessor promptly ceases business operations; and 3)
        the purchaser assumes those liabilities necessary for continuity in business
        operations. See Foster, 597 N.W.2d at 510 (describing Turner doctrine).
        Turner also deemed relevant whether the purchasing corporation holds
        itself out to the world as the "effective continuation" of the predecessor.
        Ibid. CTC argues that this broader standard applies across the board; Thule
        argues that it is limited to the products-liability context.

        Before answering the question of whether the "continuity of the
        enterprise" doctrine applies in the context of a commercial contract,
        an analytical ambiguity should be cleared up. Both parties, and the
        district court, suggest that the "mere continuation" exception and the
        "continuity of the enterprise" doctrine are one and the same. There is
        some Michigan case law in support of this position. RDM Holdings, LTD
        v. Continental Plastics Co., 281 Mich.App. 678, 762 N.W.2d 529, 552
        (2008) ("As indicated earlier in this opinion, the continuing enterprise
        theory (mere continuation or reincarnation of the old corporation) is the
        only theory that can be pursued by plaintiffs at trial.") A review of Turner,
        however, suggests that these are best understood as two independent
        exceptions, motivated by different policy concerns and applied in
        different circumstances. In creating the "continuity of the enterprise"
        doctrine, Turner modified one of the traditional "limited exceptions" to
        successor liability to fit in the products-liability context. But this
        modified exception was not the "mere continuation" exception, which
        is only mentioned in passing in Turner, appearing in a list in a
        footnote. Turner, 244 N.W.2d at 877 n. 3. Instead, Turner modified
        the de-facto-merger doctrine, a traditional exception that imposes
        successor liability when four requirements are met: 1) continuation of the
        enterprise, 2) continuity of shareholders, 3) ending of ordinary business
        operations by the seller, and 4) assumption of liabilities and obligations
        necessary for uninterrupted continuation of business operations by the
        purchaser. Turner, 244 N.W.2d at 879. After reviewing the policies
        underlying products-liability law, the court concluded that, in the
        products-liability context, the form of the acquisition is irrelevant to the
        question of liability. Id. at 880 ("[L]ogically and teleologically, there is no
        basis for treating a purchase of corporate assets different from a de facto
        merger."). As a result, the Turner court dropped the "continuity of
        shareholders" element, requiring only elements 1, 3, and 4 of the
        de-facto-merger doctrine to establish successor products liability. Id. at
        883. The "continuity of the enterprise" doctrine, therefore, is best


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10-06123-tjt   Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27          Page 40 of 46
        read as a relaxation of the de-facto-merger doctrine in
        products-liability cases, not a redefinition of the "mere continuation"
        exception. The "mere continuation" exception remains narrow, but
        retains its general applicability.

        No matter how the "continuity of the enterprise" doctrine is characterized,
        a review of Michigan law and the policies underlying the doctrine makes
        clear that it is only meant to apply in products-liability cases (and
        potentially a few other areas animated by similar public-policy concerns).
        In creating the doctrine, Turner emphasized that "[t]his is a products
        liability case first and foremost." Turner, 244 N.W.2d at 877. This was no
        hollow distinction, but the primary grounds for departing from traditional
        corporate-law doctrines. Because the traditional doctrines of successor
        liability "developed to protect the rights of creditors and minority
        shareholders," the Michigan Supreme Court reasoned that such doctrines
        are "not applicable to meeting the substantially different problems
        associated with products liability torts." Id. at 878; see also Foster, 597
        N.W.2d at 510 ("The traditional rule reflects the general policy of the
        corporate contractual world that liabilities adhere to and follow the
        corporate entity.... In the context of tort law, the traditional rule with its
        narrow exceptions has been criticized as an elevation of form over
        substance...."). Thus, while Turner may have "shake[n] off various
        impediments associated with traditional concepts" for products-liability
        cases, those impediments remain in force elsewhere. Turner, 244 N.W.2d
        at 877; see also id. at 880 ("This is precisely the result when the problem
        is correctly treated as a products liability case and is decided on products
        liability principles rather than simply by reexamining and adjusting
        corporate law principles.").

        Subsequent case law has affirmed this limitation. In tracing the
        development of the doctrine, Foster explained that tort-policy concerns
        "shaped this Court's expansion of the traditional rule." 597 N.W.2d at 510.
        In Craig ex rel. Craig v. Oakwood Hosp., 471 Mich. 67, 684 N.W.2d 296
        (2004), the Michigan Supreme Court declined to extend successor liability
        in the medical-malpractice context, reasoning "[n]ot only are the
        Turner/Foster requirements not met here but, more important, the policies
        that justify the imposition of successor liability are noticeably inapplicable
        here." Id. at 315. Likewise, Starks v. Mich. Welding Specialists, Inc.,
        477 Mich. 922, 722 N.W.2d 888, 889 (2006), reaffirmed the traditional
        rule of successor non-liability for asset purchases, rejecting expansion
        of the Turner doctrine "[b]ecause an exception designed to protect
        injured victims of defective products rests upon policy reasons not
        applicable to a judgment creditor." Id. at 889. Our circuit as well has


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10-06123-tjt   Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27         Page 41 of 46
          rejected application of Turner in other contexts; in an
          environmental-liability case, we broadly concluded that "the Michigan
          Supreme Court intended that the continuing enterprise exception be
          limited to products liability cases." City Mgmt. Corp. v. U.S. Chem. Co.,
          43 F.3d 244, 252 53 (6th Cir.1994).

          ...

          Most [of the cases cited by CTC] stand for the uncontroversial
          proposition that the traditional exceptions to successor liability
          (specifically "mere continuity") apply in the commercial context.
          Under the "mere continuity" exception, courts will look to the totality
          of the circumstances but only if the "indispensable" requirements of
          common ownership and a transfer of substantially all assets are met
          first. See Stramaglia v. United States, 377 Fed. Appx. 472, 475 (6th
          Cir. 2010). In practice, the "mere continuity" exception is a cousin of
          piercing the corporate veil, and thus targeted at limiting abuse of the
          corporate form, unlike the "continuity of the enterprise" doctrine,
          which instead imposes liability for policy reasons. See, e.g., RDM
          Holdings, 762 N.W.2d at 552 ("Much of the evidence discussed above in
          relation to the corporate veil claim is equally relevant to the successor
          liability claim.") Thus, in nearly every case cited by CTC, there was
          common ownership between the predecessor and successor corporation.
          Stramaglia, 377 Fed. Appx. at 473 ("By 1997, Stramaglia was the sole
          shareholder, director, and president of both Auburn Park and Volpe
          Vito."); Steinberg v. Young, No. 09 11836, 2010 WL 1286606, at (E.D.
          Mich. Mar. 31, 2010) ("Mr. Steinberg alleges that Mr. Young has abused
          the corporate form of the SDE Entities, and that Mr. Young has been
          fraudulently transferring assets out of the SDE Entities in an effort to
          defeat Mr. Steinberg's collection efforts."); RDM Holdings, 762 N.W.2d at
          551 (Mich.Ct.App.2008) ("Here, there was documentary evidence that
          Con Plastics, a 49 percent owner of Con Lighting, and its president,
          Anthony Catenacci, fully controlled every aspect of the operations at Con
          Lighting, including the decision to cease operations and file for bankruptcy
          to the detriment of numerous creditors."); Lakeview Commons LP v.
          Empower Yourself, LLC, 290 Mich. App. 503, 802 N.W.2d 712, 716
          (2010) ( "Phyllis owned 80 percent and Troy owned 20 percent of both
          Empower and Hamsa.")

Charlton, 541 Fed. Appx. at 551-55 (emphasis added)(footnote omitted)(citations omitted).




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 10-06123-tjt    Doc 205    Filed 10/17/14     Entered 10/17/14 16:45:27        Page 42 of 46
        Under Michigan law, as interpreted by the Sixth Circuit, therefore, the Trustee’s theory

that TENA can be liable for the debts of THB, on the theory that TENA is a “mere continuation”

of THB, is a valid legal theory. There is no dispute that substantially all of the assets of THB

were transferred to TENA, and that at the time of that transfer TENA was the 80% owner of

THB. These threshold requirements for application of the “mere continuation” doctrine under

Michigan law, therefore, appear to be met.53 Beyond these threshold requirements, the Court

must consider “the totality of the circumstances and engage in a multi-factor analysis.” See

Stramaglia, 377 Fed. Appx. at 475. As described by the Sixth Circuit in Stramaglia:

             The Michigan Supreme Court has recognized the "mere continuation"
             exception since the turn of the twentieth century. See Chase v. Mich. Tel.
             Co., 121 Mich. 631, 80 N.W. 717, 718 (1899) (citing Austin v. Tecumseh
             Natl. Bank, 49 Neb. 412, 68 N.W. 628 (1896)). The court has indicated
             that the exception rests on two related principles. See Pearce v. Schneider,
             242 Mich. 28, 217 N.W. 761 (1928) (imposing liability on a corporation
             because it was a "reincarnation" of its predecessor). First, "courts will not
             tolerate any species of transaction where the stockholders in the debtor
             corporation are permitted, by virtue of their stock ownership, to retain for
             themselves an interest in the corporate assets until the debts of the
             corporation shall have been paid." Id. at 762 (quoting 15 A.L.R. 1112).
             Second, a "corporation which acquires the entire property of another
             corporation under an arrangement which has the effect of distributing the
             assets of the latter corporation among its stockholders, to the exclusion of
             its creditors, takes the property subject to payment of the debts of its
             vendor." Ibid. (quoting Grenell v. Detroit Gas Co., 112 Mich. 70, 70
             N.W. 413, 413 14 (1897)).

             To determine whether a successor corporation is a mere continuation
             of its predecessor, Michigan courts examine the totality of the
             circumstances and engage in a multi-factor analysis. See, e.g., id. at


        53
           Michigan case law does not require a 100% identity in ownership in order to meet the
common ownership requirement. See e.g., First Presbyterian Church of Ypsilanti v. H.A. Howell Pipe
Organs, Inc., No. 07-13132, 2010 WL 419972 (E.D. Mich. Feb. 1, 2010), at *7 (“‘absolutely identical
ownership between the corporations. . . need not be present.’”)(citations omitted); and cases cited in
Charlton, 541 Fed. Appx. at 555 (last paragraph quoted above).

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 10-06123-tjt      Doc 205     Filed 10/17/14       Entered 10/17/14 16:45:27         Page 43 of 46
           762; Shue & Voeks, Inc. v. Amenity Design & Mfg., Inc., 203 Mich.App.
           124, 511 N.W.2d 700, 702 (1993); Ferguson v. Glaze, No. 268586, 2008
           WL 314544, at *5 (Mich.App. Feb. 5, 2008). The only indispensable
           prerequisites to application of the exception appear to be common
           ownership and a transfer of substantially all assets.FN2 See, e.g., Pearce,
           217 N.W. at 762; Shue & Voeks, Inc., 511 N.W.2d at 702; Gougeon Bros.
           v. Phoenix Resins, Inc., No. 211738, 2000 WL 33534582, at *2
           (Mich.App. Feb. 8, 2000). Beside these two factors, the most important
           consideration appears to be the nature of the business performed by the
           successor corporation — that is, whether its "main corporate purpose was
           to conduct the same business" as its predecessor. Pearce, 217 N.W. at
           762; see also Shue & Voeks, Inc., 511 N.W.2d at 702; Ferguson, 2008 WL
           314544, at *2. Several other factors also bear upon "mere continuation"
           analysis: the new corporation's retention of the old corporation's officers
           and employees, see Shue & Voeks, Inc., 511 N.W.2d at 702; Ferguson,
           2008 WL 314544, at *5; the new corporation's occupancy of the old
           corporation's place of business; see Gougeon Bros., 2000 WL 33534582,
           at *2; and the new corporation's selective repayment of the old
           corporation's debts, see ibid.

           FN2. Notably, however, no Michigan court has found these factors alone
           sufficient to justify imposition of successor liability.

           Volpe-Vito asserts that a court must also find evidence of inadequate
           consideration or fraud to impose liability under the "mere continuation"
           exception. We recognize that several jurisdictions do require the presence
           of one or both of these factors. See, e.g., Katzir's Floor & Home Design,
           Inc. v. M MLS.com, 394 F.3d 1143, 1150 (9th Cir.2004) (discussing
           California law). Michigan, however, is not such a jurisdiction. See Shue &
           Voeks, Inc., 511 N.W.2d at 702 (finding the Uniform Fraudulent
           Conveyance Act inapplicable based on the adequacy of consideration and
           absence of fraud, but failing to mention either the absence of fraud or
           adequacy of consideration as part of "mere continuation" analysis).

Stramaglia, 377 Fed. Appx. at 475-76.

       On the present record, the Court must conclude that TENA has not demonstrated that the

Trustee cannot prevail on his “mere continuation” successor liability theory under Michigan law.

Genuine issues of material fact remain.




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 10-06123-tjt    Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27       Page 44 of 46
        C. Counts IV and V in the Trustee’s complaint in Case No. 10-6123 (alleged
           fraudulent transfer of substantially all of the Debtor’s assets under the Sakoma
           APA, the THB APA, and the Honduras APA)

        In their briefs, THB and TENA appear to seek summary judgment on Counts IV and V of

the Trustee’s complaint in Adversary No. 10-6123, on the ground that the total consideration

provided by the purchasers in exchange for the total value of the Kensa Business Entity was at

least reasonably equivalent to that total value.54 This argument, however, is too broad to

establish that THB and TENA are entitled to summary judgment on the Trustee’s claims. The

sale of the Kensa Business Entity, described in detail in Part II of this opinion, involved the sale

not only of the Debtor’s assets, but also the sale of assets of other related entities that are not

debtors in this bankruptcy case, including Kensa Mexico, and Kensa Hondurus, and Deckerville.

Thus, in determining whether the Debtor received reasonably equivalent value in exchange for

the assets of the Debtor that were transferred, the focus must be on the value of the direct and

indirect economic benefits that the Debtor received in the transaction, compared to the value of

the Debtor’s assets that were transferred in the transaction. See discussion in Part IV.B. of this

opinion. The argument by THB/TENA, therefore, is not focused narrowly enough, unless the

Court is to ignore the corporate separateness of the Debtor and the other entities who were the

sellers in the larger transaction involving the sale of the Kensa Business Entity. Neither the

Trustee nor any of the parties have established that the Court can ignore that corporate

separateness.

        For these reasons, and on the present record, THB and TENA have not demonstrated that

they are entitled to summary judgment based upon this last argument.


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             See THB/TENA Br. (Docket # 110) at 3-4, 15-16.

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 10-06123-tjt       Doc 205     Filed 10/17/14     Entered 10/17/14 16:45:27          Page 45 of 46
VI. Conclusion

      For the reasons stated in this opinion, the Court will enter an order denying each of the

summary judgment motions.


Signed on October 17, 2014                          /s/ Thomas J. Tucker
                                                    Thomas J. Tucker
                                                    United States Bankruptcy Judge




                                               46



 10-06123-tjt    Doc 205     Filed 10/17/14    Entered 10/17/14 16:45:27         Page 46 of 46
